 

 

AO 106 (.Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

 

ln the Matter of the Search of:

3261 Nortli 30th Street, MilWaukee, Wisconsin
a 1 s-M_ 103 (DEJ)

Case N

 

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search Warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

See Attachment A

located in the Eastem District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(0) is:
§ evidence of a crime;
E contraband, fruits of crime, or other items illegally possessed;
§ property designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person Who is unlawfully restrained

The Seareh is related to violations of: Title 21, United States Code, Sections 841 and 846

The application is based on these facts: See attached affidavit

l:l Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet

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Special Agent Jeffrey Baker, FBI
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Sworn to before me and signed in my presence:

Date: /£{L/U\. §§ 253£?

     

 

     

    

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION POR A SEARCH WARRANT

l, jeffrey Baker, a Special Agent With the Federal Bureau of lnvestigation, hereby
depose and state as folloWs:

INTRODUCTION AND AGENT BACKGROUND

l. l make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search Warrant authorizing the examination
of property, a residential dwelling described in Attachment A, and the extraction from
that property of evidence described in Attachment B.

2. l am a Special Agent for the Federal Bureau of lnvestigation (FBI). l have
been an FBI Agent With the Southeastern Wisconsin Regional Gang Task Force since
October of 2017. l have received training in the investigation of drug trafficking l have
Worked With informants in the investigation of drug trafficking in the MilWaukee area. l
have participated in search Warrants, investigations, and arrests in Which controlled
substances and drug paraphernalia Were seized l am familiar With the street names of
various drugs in the l\/lilWaukee area including marijuana, heroin, and cocaine. l
am familiar With methods that are commonly used by drug dealers to package and
prepare controlled substances for sale in the l\/lilWaukee area. Through my training and
experience, l know that drug dealers are not on a regular schedule and can conduct drug
deals at any time of the day.

3. . As a Special Agent, l have participated in the investigation of narcotics-
related offenses, resulting in the prosecution and conviction of individuals and the

seizure of illegal drugs, Weapons, stolen property, United States currency, and other

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evidence of criminal activity. As a narcotics investigator, l have interviewed individuals
involved in drug trafficking and have obtained information from them regarding
acquisition, sale, importation, manufacture, and distribution of controlled substances
Through my training and experience, l am familiar with the actions, habits, traits,
methods, and terminology utilized by the traffickers and abusers of controlled
substances l have participated in many aspects of drug investigations, including physical
surveillance, execution of search warrants and arrests of numerous drug traffickers. l
have also spoken with other experienced narcotics investigators, concerning the methods
and practices of drug traffickers and money launderers.

4. l have utilized informants to investigate drug trafficking Through
informant interviews, and extensive debriefings of individuals involved in drug
trafficking l have learned about the manner in which individuals and organizations
distribute controlled substances in Wisconsin and throughout the United States.

5. l am familiar with the appearance and street names of various drugs,
including marijuana, heroin, cocaine, cocaine base (cracl< cocaine), ecstasy, and
methamphetamine l am familiar with the methods used by drug dealers to package and
prepare controlled substances for sale. l know the street values of different quantities of
the various controlled substances

6. l know that drug traffickers commonly have firearms, ammunition, and
records or receipts pertaining to such in their possession and at their residences and other

locations where they exercise dominion and control.

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7. l know that drug traffickers often list their telephones in nominee names in
order to distance themselves from telephones that are used to facilitate drug trafficking,'
and that drug traffickers frequently change phone numbers in an effort to thwart law
enforcement

8. l know that drug traffickers often use drug proceeds to purchase assets such
as vehicles, property, and jewelry. l also know that drug traffickers often use nominees
to purchase and / or title these assets in order to avoid scrutiny from law enforcement

9. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses This affidavit
is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter. The facts in this
affidavit come from my personal observations, my training and experience, and
information obtained from other agents and witnesses This affidavit is intended to show
merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter

lO. As detailed below, l believe that there is probable cause that located within
the following properties in the City of l\/lilwaukee, further described in Attachment A,
are items that constitute evidence of drug trafficking including violations of Title 21,
United States Code, sections 841 and 846.

IDENTIFICATION OF PREMISES AND VEHICLES TO BE SEARCHED

ll. That affiant is requesting permission to execute a search warrant at the

following properties and vehicles:

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A. 1815 lst Avenue, Grafton, Wisconsin
Single condominium unit attached to a complex of units.

lt is the southernmost unit in the block long complex. The
main entrance is a white east facing screen door with tan
interior wooden door. The numbers ”1815” are
prominently displayed in two-inch black color numerals
directly to the left of the white screen door. The lower of
the exterior is composed of red brick and tan wood siding
rl`he upper portion of the exterior is composed of brown
shingle siding The roof is composed of brown shingles
There is a secondary exterior door on the west side of the
unit adjacent to the parking lot. '

B. 330 West Keefe Avenue, Apartment #5, Milwaukee,
Wisconsin `
l\/lulti~unit apartment.complex having a tan brick exterior

with grey trim around the windows and a black tar roof.
The numbers ”330” are displayed in a horizontal fashion
to the west of the south facing front entry door.
Apartment #5 is located on second floor southeast corner
with the number ”5” displayed on the white wood door.

C. 2655 North 15th Street, Milwaukee, Wisconsin
The lower of a two-story duplex having yellow aluminum
siding with white trim around the windows and a black
roof. The number ”2655” is displayed to the north of the
east facing front entry door.

D. 3261 North 30th Street, Milwaukee, Wisconsin
The lower of a two` story duplex having tan aluminum
siding with brown window trim and a grey shingled roof
and has a brown porch constructed of wood with four
pillars. The east facing main entrance door is a black
security gate with a white interior door. This leads
directly into 3261 North 30th Street lower.

E. 3110 North 35th Street, Apartment #4, Milwaukee,
‘ Wisconsin

l\/lulti-unit apartment complex having brown brick

exterior with dark brown trim around the windows and a

black tar roof. Apartment #4 is located on the second floor

in the north portion of the apartment building The

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entrance apartment four is located on the second floor on
the east side of the apartment building The entry door is
white and is the northern most door on the east side of the
apartment building

F. 3071A North 19th Street, Milwaukee, Wisconsin
The upper of a two-story duplex having yellow exterior

siding and a red-shingled roof. The number ”3071A" is
displayed in a horizontal fashion on the east side of the
house. The entrance door to 3071A is a white door on the
south side of the building

G. 3044 North Richards Street, Milwaukee, Wisconsin
The lower of a two~story duplex having white aluminum

siding with white trim and a brown-shingled roof. The
number ”3044” is displayed in a horizontal fashion to the
south of the west facing security gated front door.

H. 5800 North 91st Street, Northeast First Floor Apartment
Milwaukee, Wisconsin '
l\/lulti-unit apartment complex having a tan brick exterior

with brown and White window trim and a red-shingled
roof,' that ”5800” is displayed in a horizontal fashion above
the double White west facing front entry doors. The
entrance to the target location is located on the first floor
in the northeast corner of the apartment building The
entry door is white and is located on the east side of the
apartment building and faces east. The entry door is the
northern most door on the east side of the building

I. Black 2013 Cadillac XTS, Wl registration 659~ZH,
VIN#2G61W5536D9220166, registered to Harris ]ames
Trust.

]. White 2014 Lincoln MKT, Wl registration ACV-2418,
VlN#ZLl\/IH]5AT2EBL54470, registered to ]asmine Grace
(Roderick Ramsey’s Girlfriend).

12. The applied-forwarrant would authorize the search and recovery of

evidence particularly described in Attachment B.

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PROBABLE CAUSE

13. The Federal Bureau of lnvestigations (FBI) Gang Task Force (GTF), which
includes Special Agents of the DEA, FBI, and federal Task Force Officers, are conducting
an investigation into the criminal activities of james T. Harris (Age: 52) and his Drug
Trafficking Organization (DTO) as it relates to the trafficking of heroin into Milwaukee,
Wisconsin between january 2016 to the present

14. In 2017, members of the FBI GTF, developed a confidential source
(hereinafter referred to a CSl). CS1 was a heroin dealer for james Coleman, who is a
member of the Harris DTO. CSl stated that between january 2017 and April 2017, s / he
worked as a heroin dealer for james Coleman out of 2655 l\l. 15th Street, Milwaukee, Wl.
ln 2017, CSl began working for Coleman after james Harris requested that CSl become
one of Harris' heroin dealers

15. For several reasons, case agents believe that CS1 is reliable and credible.
First, CS1 has been providing continuous information since l\/larch of 2017 . Second, the
information CS1 has provided is substantially against CS1's penal interest Third, the
information provided by CS1 is consistent with evidence obtained elsewhere in this
investigation where CS1 was not utilized, and substantial portions of CSl’s information
have been corroborated through independent investigation, including surveillance and
information from other sources Finally, CS1 has had an adequate opportunity to observe
directly the events discussed and / or has heard conversations directly from the
individuals discussed herein. CS1 is cooperating in exchange for credit towards CS1

pending criminal case. CS1 has provided law enforcement with timely and accurate

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` information corroborated by law enforcement through consensually recorded
conversations controlled buys and other witness and law enforcement reporting
16. ~ ln early 2017 and while inside of 2773A l\l. 41st Street, Milwaukee, Wl-, CS1
saw Harris packaging a half-kilo of heroin for sale, and s/ he saw Harris use Dormin as a
cutting agent prior to its packaging
17. CS1 identified james Coleman, Kurt Parks, Rodericl< Ramsey, and Todd
McGown as heroin traffickers who purchased their heroin from Harris between january
2017 and April 2017. CS1 also personally observed Roderick Ramsey, Harris’ nephew,
' deliver heroin to Coleman for sale.
18. CS1 further stated that Harris once called CS1 and told him/ her that Harris
was in Chicago picking up heroin from his source of supply.
19. ln 2017, members of the FBl GTF, developed a confidential source
(hereinafter referred to as CS¢l). CS4's information dates from january 2017 to the present
20. For several reasons case agents believe that CSél is reliable and credible.
First, CS/l has been providing continuous information since approximately june of 2017.
Second, the information C54 has provided is substantially against CS4’s penal interest
Third, the information provided by C54 is consistent with evidence obtained elsewhere
in this investigation where CS4 Was not utilized, and substantial portions of CS4's
information have been corroborated through independent investigation, including
surveillance and information from other sources Finally, CSél has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations

directly from the individuals discussed herein. `C54 is cooperating in exchange for

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monetary compensation CS4 has provided law enforcement with timely and accurate
information corroborated by law enforcement through consensually recorded
conversations controlled buys and other witness and law enforcement reporting

21. CSél is an associate of the Harris DTO and is intimately familiar with aspects
of the Harris DTO. C54 stated that Harris is large heroin dealer in Milwaukee, and his
main partner is Nequann Terry, Harris’ son. C54 has observed Terry packaging and
distributing heroin several times in Milwaukee since january 2018 in Terry’s vehicle and
at 330 West Keefe, Apartment #5, Milwaukee and at 2773A North 41st Street, Milwaukee.
CS4 has observed Harris front (allowing narcotics to be sold on credit) heroin to Terry '
approximately 40 times since january 2017.

22. C54 observed Harris on multiple occasions distribute heroin to Nequann
Terry, james Coleman, Kurt Parks, and l\/,[arques Williams. CS4 stated that s / he
personally observed Harris front heroin to: (1) l\lequann Terry at 330 West Keefe Avenue
Apartment 5, Milwaukee, Wl,' (2) james Coleman at 2665 North 15th Street, Milwaukee,
Wl,' (3) Kurt Parks at 2773A North 41st Street, Milwaukee, Wl,' and (4) Marques Williams
at 3071A North 19th Street, Milwaukee, Wl.

23. C54 further identified l<urt Parl<s' heroin workers as Don Tillman, Antoine
jeff, and Casey johnson. CS4 saw Antoine jeff purchase a half-ounce of heroin from
Harris approximately two to three times from june 2017 to August 2017 at 3261 North
30th Street, Milwaukee, Wl. C54 identified Marques Williams as a heroin trafficker who
receives his heroin supply from Harris and Terry at 3071A North 19th Street, Milwaukee,

Wl.

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24. CS4 also believes that Harris receives his heroin from a relative in Chicago
because he heard Harris and Kurt Parl<s discussing that arrangement

25. ln 2018, members of the FBI GTF developed a confidential source
(hereinafter referred to as CSé).

26. For several reasons case agents believe that CS6 is reliable and credible
First, CS6 has been providing continuous information since April of 2018, Second, the
information provided by CS6 is consistent with evidence obtained elsewhere in this
investigation where CSé was not utilized, and substantial portions of CSé's information
have been corroborated through independent investigation, including surveillance and
information from other sources Finally, CS6 has had an adequate opportunity to observe
directly the events discussed and / or has heard conversations directly from the
individuals discussed herein. CS6 is cooperating in exchange for credit towards CSé
pending criminal case

27. CS6 stated s / he had been purchasing heroin three times a week from a
subject s / he know as ”Rah Rah” since june / july of 2017 at 3044 North Richards Street,
Milwaukee, Wl, and at an apartment of the lower northeast corner of the an apartment
complex located at 5800 North 91st Street, Milwaukee, Wl. Case agents know ”Rah Rah”
to be Roderick Ramsey, who is james Harris nephew. Case agents showed CS6 a
Milwaukee Police Department booking photo of Roderick Ramsey, which CS6 positively
identified as the subject CS6 knows as ”Rah Rah."

28. CS6 stated that in l\/lay 2018, s / he observed james Harris at Roderick

Ramsey's residence 3044 North Richards Street, Milwaukee, Wl, when CSé was

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purchasing heroin from Ramsey. ln l\/lay 2018, CS6 positively identified a photograph of
james Harris, but did not know what Harris' name was CSé stated that While CS6 was
purchasing heroin from Ramsey at 3044 North Richards Street, Milwaukee, CS6 observed
james Harris walk from a back room during the drug deal with Ramsey. ln late july 2018,
CS6 also stated that Ramsey was still actively selling heroin out of 3044 North Richards
Street, Milwaukee and 5800 North 91st Street, Milwaukee.

29. ln 2017, members of the FBl GTF, developed a confidential source
(hereinafter referred to as CS7). v

30. For several reasons case agents believe that CS7 is reliable and credible
First, CS7 has been providing continuous information since April of 2018. Second, the
information provided by CS7 is consistent with evidence obtained elsewhere in this
investigation where CS7 was not utilized, and substantial portions of CS7's information
have been corroborated through independent investigation, including surveillance and
information from other sources Third, CS7 has made statements to case agents that are
against his / her penal interests in that CS7 has admitted his / her involvement in the
Harris DTO's activities in the past Finally, CS7 has had an adequate opportunity to
observe directly the events discussed and / or has heard conversations directly from the
individuals discussed herein. CS7 is cooperating in order to be a good citizen and
potential future monetary compensation

31. CS7 stated that Harris’ source of supply is Stanley George and that the
purchases of heroin occur at Harris’ mother’s residence in Chicago. CS7 saw Harris

purchase heroin from George over 10 times between February 2016 to December 2018.

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Each time Harris purchased heroin, it was never less than a kilo. The FBI was able to
verify the identity of Stanley George and verified that Harris' mother does reside in
Chicago. CS7 identified Adline Harris, Harris’ Wife, as a person who often transports
heroin from Chicago to Milwaukee for the Harris DTO.

32. ln 2018, members of the FBI GTF, developed a confidential source
(hereinafter referred to as CSS). l

33. For several reasons case agents believe that CSS is reliable and credible
First, the information provided by CSS is consistent with evidence obtained elsewhere in
this investigation where CSS was not utilized, and substantial portions of CSS’s
information have been corroborated through independent investigation, including
surveillance and information from other sources Second, CSS has made statements to
case agents that are against his/ her penal interests in that CSS has admitted his/ her
involvement in the Harris DTG’s activities in the past Finally, CS8 has had an adequate
opportunity to observe directly the events discussed and/ or has heard conversations
directly from the individuals discussed herein. CSS is cooperating in exchange for
consideration in a pending criminal case

34. CSS worked with the Harris DTO from spring 2016 to spring 2017 . CSS saw
Harris receive heroin from a Chicago source CS8 saw Harris package heroin almost every
day, and CS8 saw Harris cut the heroin with Dormin. CSS assisted the packaging of
Harris’ heroin, and s / he said that Harris would receive approximately 2~3 kilos of heroin
every month. CSS saw james Coleman and Kurt Parks purchase heroin almost every day

from Harris - at times Harris fronted the heroin to james Coleman and Kurt Parks.

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35. On january 31, 2018, the FBl GTF conducted a garbage pick at one of Harris'
former drug locations (2773A N. 41st Street, Milwaukee) and located Dormin (heroin
cutting agent), corner cuts that tested positive for the presence of heroin, and identifiers
for Harris and Nequann Terry. This further corroborates the confidential source
information

36. The investigation into the Harris DTO included an investigative technique
known as a ”controlled buy.” Based on my training and experience, l know a ”controlled
buy" is a law enforcement operation in which an informant purchases drugs from a
target fhe operation is conducted using surveillance, usually audio and video taping
equipment, and pre-recorded purchase money. When an informant is used, s / he is
searched for contraband, weapons and money before the operation The informant is also
wired with a concealed body recorder and / or a monitoring device When the transaction
is completed, the informant meets cases agents at a pre-determined meet location and
gives the purchased drugs and the recording/ monitoring equipment to the case agents
The informant is again searched for contraband, weapons and money and then
interviewed by the case agents about the drug transaction A sample of the suspected
drugs is then field tested by the case agents for the presence of controlled substances and
then placed in inventory pursuant to normal inventory procedures All of the calls to the
target by the informants are consensually recorded calls under the direction and control
of case agents and made in the presence of case agents Additionally, case agents observe

the informants dial the target's number on each occasion and the contact is verified

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through telephone records Unless otherwise noted, the controlled buys and telephone
contacts summarized below were conducted pursuant to the above procedures
37. The below controlled buys are believed to be connected to members or
associates of the Harris DTO:
0 On April 22, 2017, the FBI GTF conducted a controlled buy of heroin
from james Coleman of 2.52 grams of heroin at 4200 W. Stark Street,
Milwaukee,
0 On April 24, 2017, the FBl GTF conducted a controlled buy from
james Coleman of4.3 grams of heroin at 1200 W. Garfield Avenue,
Milwaukee,
0 C)n May 12, 2017, the FBI GTF conducted a controlled buy from
james Coleman of 9.11 grams of heroin at 2655 N. 15th Street,
Milwaukee, During the controlled buy, james Coleman. The Cl stated
that Skinner Was selling heroin to other buyers during the controlled
buy (this was not captured on the recording).
4¢ On l\/lay 24, 2017, the FBI GTF conducted a controlled buy from
james Harris and Roderick Ramsey of 7.8 grams of heroin at 2773 N.
41st Street, Milwaukee. CS1 called Harris who directed CS1 to call
Rodericl< Ramsey to fulfill the request CSl called Ramsey who sold
the heroin to CSl.
0 On july 21, 2017, the FBI Task Force conducted a controlled buy

from Don Tillman of 2.2 grams of heroin at 2605 l\l. 26th Street,

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Milwaukee, D_uring the controlled buy, CS4 called Parks who told him
to complete the purchase with his worker, "Doni"

¢ On july 25, 2017, FBI GTF conducted a controlled buy from Antoine
jeff of 3.1 grams of heroin at 3261 North 30th Street, Milwaukee

¢ On August 2, 2017, FBI GTF conducted a controlled buy from
Antoine jeff of 2.5 grams of heroin at 3261 North 30th Street,
Milwaukee, During the controlled buy, CS4 contacted Tillman who
told the CS that he did not have heroin because Parks was arrested so
he should call jeff.

¢ On August 7, 2017, the FBI Task Force conducted a controlled buy
from Don Tillmani of 3.7 grams of heroin at 2869 N. 26th Street,
Milwaukee. During the controlled buy, Tillman told CS4 that he was
waiting for Parks to drop off some heroin for him to sell.

¢ On August 27, 2017j the FBI Task Force conducted a controlled buy
from Don Tillman of 3.07 grams of heroin at 2869 N. 26th Street,
Milwaukee,

¢ Gn October 12, 2017, the FBl Task Forceconducted a controlled buy
from Don Tillman of 2.37 grams of heroin at 2869 N. 26th Street,
Milwaukee.

0 On April 10, 2018, the FBI GTF conducted a controlled buy from
Todd l\/chown of 2.39 grams of heroin at 3110 North 35th Street,

Milwaukee .

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l ¢ On April 12, 2018, FBI GTF conducted a controlled buy from Todd
l\/chown of 4.5 grams of heroin at 3110 North 35th Street, Milwaukee,
0 On April17, 2018, FBl GTF conducted a controlled buy from Casey
johnson of 2.83 grams of heroin at 3069 North 29th Street, Milwaukee,
During the controlled buy, CS4 spoke to Terry who said call his guy
”KC.”

¢ On April 20, 2018, FBI GTF conducted a controlled buy from Casey
johnson of 4.87 grams of heroin at 3069 North 29th Street, Milwaukee,
¢ On May 15, 2018, 1381 GTF conducted a controlled buy from Antoine
jeff of 1.55 grams of heroin at 3261 North 30th Street, Milwaukee.

¢ On May 17, 2018, FBI GTF conducted a controlled buy from Todd
l\/chown of 4.5 grams of heroin at 3500 West~ Fond Du Lac Avenue,
Milwaukee. y

¢ On l\/lay 21, 2018, FBI GTF conducted a controlled buy of heroin
from Roderick Ramsey of 1.02 grams of heroin at 2940 North 21st
Street, Milwaukee,

0 Cn l\/lay 24, 2018, FBI GTF conducted a controlled buy of heroin
from Nequann Terry of 2.06 grams of heroin at 6016 North 61st Street,
Milwaukee, During the controlled buy, CS4 spoke with Harris and
Terry outside of 6016 North 61st Street, and at that time, Harris

directed Terry to ”Take care of that business.” Shortly after, CS4 and

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Terry entered the residence, and CS4 conducted the purchase of heroin
from Terry.

0 On l\/lay 29, 2018, FBl GTF conducted a controlled buy from
Roderick Ramsey of .55 grams of heroin at 5800 North 91st Street, .
Milwaukee

0 On l\/lay 30, 2018, FBI GTF conducted a controlled buy from
Nequann Terry of 1.97 grams of heroin at 1845 West Hopkins Street,
Milwaukee,

¢ On june 4, 2018, the FBI GTF conducted a controlled buy from james
Coleman of .16 grams of heroin from 2655 N. 15th Street, Milwaukee
0 On july 10, 2018, the FBI GTF conducted a controlled buy from
”Luther" at the direction of l\/larques Williams of 2.05 grams of heroin
in the area of 3071 N. 19th Street, Milwaukee.

0 On july 12, 2018, the FBl GTF conducted a controlled buy from
”Luther” at the direction of l\/larques Williams of 2.98 grams of heroin
in the area 3071 N. 19th Street, Milwaukee,

¢ On july 25, 2018, the FBl GTF conducted a controlled buy from
Antoine jeff of 1.8 grams of heroin from 3261 North 30th Street,
Milwaukee,

¢ On july 25, 2018, the FBl GTF conducted a~controlled buy from
”Herron” at the direction of Todd l\/chown of 2.93 grams of heroin in

the area 3110 North 35th Street, Milwaukee.
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0 On july 25, 2018, the FBI GTF conducted a controlled buy from
”Luther” of 2.71 grams of heroin in the area of 3071 N 19th Street,
Milwaukee,
¢ On july 30, 2018, the FBI GTF conducted a controlled buy from
Rodericl< Ramsey of 0.58 grams of heroin in the area of 3044 North
Richards Street. l

1815 lst Avenue, Grafton, Wisconsin

38. Agents of the FBI GTF believe that 1815 1st Avenue, Grafton, Wl, is
occupied by james Harris and his wife, Adline Harris. At the beginning of june 2018, CS4
alerted case agents that james Harris and Adline Harris moved from their residence
located at 9401 West Calumet Road #208, Milwaukee, Wl, to a location in Grafton
Wisconsin On june 1, 2018, james Harris updated his Wisconsin Department of '
Corrections address to 1815 1st Avenue, Grafton, Wl (Harris is currently on active
Wisconsin Department of Corrections supervision). On june 14, 2018, both james Harri`s
and Adline Harris updated their Wisconsin Department of Transportation address to
1815 lst Avenue, Grafton Wl. As of june 2, 2018, Adline Harris is the listed utilities
subscriber through WE Energies for 1815 lst Avenue in Grafton, Wl.

39. Through telephonic electronic surveillance, case agents placed james
Harris' cellphone at 1815 1st Avenue in Grafton, WI, more than 10 times since june 1,
2018. On july 24, 2018, case agents personally observed james Harris enter the residence
located at 1815 1st Avenue, Grafton, VVl.

40. Case agents know that james Harris has a history of keeping heroin at one

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location and the proceeds of the heroin trafficking at a secondary location CSS witnessed
Harris and members of the Harris DTO at 277 3A North 41st Street, Milwaukee, Wl, when
they would receive, cut, and distribute heroin from this residence CS8 stated that the
proceeds from the heroin sales would then go back to Harris’ primary residence, which
at that time Was located at 9401 West Calumet Road #208, Milwaukee, Wl.

41. Case agents believe that 1815 1st Avenue, Grafton is the primary storage
area for the proceeds of the heroin trafficking from the Harris DTO.

42. CS7 identified Adline Harris as a person who often transports heroin from
Chicago to Milwaukee for the Harris DTO.

43. in my training and experience as a federal agent, l know that it is a common
for a drug trafficker’s residence to contain evidence of drug trafficking such as
contraband, proceeds and records

330 West Keefe Avenue, Apartments #5, Milwaukee, Wisconsin

44. Agents of the FBl GTF believe that 330 West Keefe Avenue, Apartment #5,
Milwaukee, Wl, is occupied by Nequann Terry. On july 11, 2018, Nequann Terry updated
his Wisconsin Department of Transportation address to 330 West Keefe Avenue
Apartment #5, Milwaukee, Wl. james Harris and Nequann Terry are the listed as the
utilities subscribers through WE Energies for 330 West Keefe Avenue, Apartment #5,
Milwaukee, Wl.

45. ln the mid-june 2018, CS4 was inside of 330 West Keefe~Avenue Apartment
#5 when s / he saw james Harris bring an unidentified amount of heroin into the

apartment complex. CS4 stated that s / he observed Nequann Terry with a firearm in

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Apartment #5 within the last 60 days CS4 identified Terry as a current heroin dealer for
the Harris DTO who resides at and furthers heroin trafficking at 330 West Keefe Avenue,
Apartment #5, Milwaukee, Wl.

46. CS4 stated that the entry door to Apartment #5 is barricaded. The
barricades consist of a horizontal 2x4 across the door and a 2x4 inserted into a floor
bracket which provides additional fortification. l know that from training and experience
that drug dealers use fortification in order to secure their residences from law
enforcement and others individuals attempting tov gain access to their residence

47. On February 17, 2018, Milwaukee police officers were dispatched to a
property damage complaint at 330 West Keefe, Milwaukee, Wl. The caller stated that her
landlord was ”j. Harris” with a cellphone number of 414-595-7809. Case agent know this
to be one of james Harris's cellphone numbers

48. Based off electronic and physical surveillance, case agents have placed
james Harris at 330 West Keefe Avenue over 100 times most recently on july 24, 2018, ln
addition, case agents case agents have placed Nequann Terry at 330 West Keefe through
physical surveillance approximately 10 times most recently on july 24, 2018.

49. Case agents also observed james Harris 2013 Cadillac XTS, with Wisconsin
license plate 659-ZHL parked at 330 West Keefe on over 25 occasions most recently on l
july 25, 2018, Law enforcement verified that this vehicle is registered through Wl DOT to
james Harris Trust and used by Harris. Case agents have observed Harris driving the
Cadillac XTS over 20 times

50. ln my training and experience as a federal agent, l know that it is a common

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for a drug trafficker’s residence to contain evidence of drug trafficking such as

contraband, proceeds and records

2655 North 15th Street, Milwaukee, Wisconsin

 

51. Agents of the FBI GTF believe that 2665 North 15th Street, Milwaukee, Wl
is occupied by james Coleman. Coleman’s current Wisconsin Department of
Transportation' address lists him to 2655 North 15th Street, Apartment #1, Milwaukee,
Wl. Coleman updated his Wisconsin Department of Transportation address on August
18, 2017. james Coleman is the current listed utilities subscriber through WE Energies for
2655 North 15th Street, Milwaukee, Wl.

52. On l\/larch 16, 2017, law enforcement officers executed a search warrant at
Coleman’s residence located at 2655 N. 15th St., Milwaukee, Wl. During the search at the
residence, law enforcement officers located the following items of evidentiary value
within the residence

¢ Two clear plastic bags that contained 155 aluminum foil bindles that
contained 41.25 grams heroin

o A loaded Taurus semi-automatic pistol.

¢ A plastic bag that contained $5,115.00 of U.S. Currency.

o Two black Digitz digital scales inside of the west bedroom of the
residence in the dresser drawers This bedroom was later
determined to belong to james Coleman.

53. The FBI GTF conducted the following controlled buys at 2655 l\l. 15th Street,

Milwaukee:
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¢ On l\/lay 12, 2017, the FBI Task Force conducted a controlled buy
from james Coleman of 9.11 grams of heroin at 2655 N. 15th Street, v
Milwaukee, The Cl stated that justin Skinner, Coleman's son, was
selling heroin to other buyers during the controlled buy,

0 On june 4, 2018, the FBI Task Force conducted a controlled buy from
james Coleman of .16 grams of heroin at 2655 N. 15th Street,
Milwaukee,

54. CS1, CS7, and CSS identified Coleman as a member of the Harris DTO.

55. CSl stated that between january 2017 and April 2017, s / he worked as a
heroin dealer for james Coleman out of 2655 l\l. 15th Street, Milwaukee, Wl.

56. CS4 identified Coleman as a current heroin dealer for the Harris DTO who
resides at 2665 North 15th Street, Milwaukee, Wl.

57. ln my training and experience as a federal agent, l know that it is a common
for a drug trafficker's residence to contain evidence of drug trafficking such as
contraband, proceeds and records

3261 North 30th Street, Milwaukee, Wisconsin

58. Agents of the FBI GTF believe that 3261 North 30th Street, Milwaukee, Wl,
is occupied by Antoine jeff. jeff's current address through the Wisconsin Department of
Transportation, which he updated on l\/larch 25, 2014. The listed utilities describer
through WE Energies is Danielle Pinkston

59. CS4 identified Kurt Parks’ heroin workers as Don Tillman, Antoine jeff, and

Casey johnson CS4 saw Antoine jeff purchase a half-ounce of heroin from Harris

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approximately two to three times from june 2017 to August 2017 at 3261 North 30th '
Street, Milwaukee, Wl.

60. Cn july 25, 2017, FBI _GTF conducted a controlled buy of heroin from
Antoine jeff. CS4 purchased 3.1 grams of heroin at 3261 North 30th Street, Milwaukee
with $400.00 in controlled buy money.

61. Cn August 2, 2017, FBl GTF conducted a controlled buy of heroin from
Antoine jeff CS4 purchased 2.5 grams of heroin at 3261 North 30th Street, Milwaukee
with $500.00 in controlled buy money.

62. On l\/lay 15, 2018, FBI GTF conducted a controlled buy of heroin from
Antoine jeff. CS4 purchased 1.55 grams of heroin at 3261 North 30th Street, Milwaukee
with $200.00 in controlled buy money.

63. On july 25,v 2018, the FBl GTF conducted a controlled buy of heroin from
Antoine jeff. CS4 purchased 1.8 grams of heroin from 3261 North 30th Street, Milwaukee,
with $300.00 of controlled buy money.

64. ln my training and experience as a federal agent, l know that it is a common
for a drug trafficker's residence to contain evidence of drug trafficking such as
contraband, proceeds and records

3110 North 35th Street, Apartment #4, Milwaukee, Wisconsin

65. Agents of the FBI GTF believe that 3110 North 35th Street, Apartment #4,
Milwaukee, Wl, is occupied by Todd l\/chown. This residence is l\/chown’s current
Wisconsin Department of Transportation address On December 18, 2016, McGown
updated his Department of Transportation address to 3110 North 35th Street, Apartment

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#4, Milwaukee, Wl. The listed utilities subscriber through WE Energies is l\/landisa
Dempsey.

66. On l\/lay 16, 2017, Milwaukee Police responded to 3110 North 35th Street
Apartment #4. The caller identified himself as Todd l\/chown. McGown stated that his
vehicle was stolen from the location

67. On April 10, 2018, the FBI GTF conducted a controlled buy of heroin from
Todd McGown at 3110 North 35th Street, Apartment #4. CS4 purchased 2.39 grams of
heroin with $200.00 in controlled buy money.

68. On April12, 2018, FBI GTF conducted a controlled buy of heroin from Todd
l\/chown at 3110 North 35th Street, Apartment #4. CS4 purchased 4.5 grams of heroin
with $300.00 in controlled buy money.

69. Gn May 17, 2018, FBI GTF conducted a controlled buy of heroin from Todd
l\/chown in the parking lot across the street from 3500 West Fond Du Lac. CS4 purchased
4.5 grams of heroin with $300.00 in controlled buy money. This parking lot is
approximately 200 feet west of 3110 North 35th Street

70. On july 25, 2018, the FBI GTF conducted a controlled buy from ”Herron” at
the direction of Todd\McGown CS4 purchased 2.93 grams of heroin with $300.00 of
controlled buy money in the gangway to the south of 3043 North 35th Street, Milwaukee,
This location is approximately one block south 3110 North 35th Street.

71. Case agents physically observed l\/chown in the alley adjacent to 3110
North 35th Street in early july 2018.

72. ln my training and experience as a federal agent, l know that it is a common

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for a drug trafficker’s residence to contain evidence of drug trafficking such as

contraband, proceeds and records

3071A North 19th Street, Milwaukee, Wisconsin

 

73. Agents of the FBI GTF believe that 3071A North 19th Street, Milwaukee,
Wl, is a heroin distribution location for the Harris DT() run by Marques L. Williams (DOB
02/15/1979).

74. CS4 stated that Marques Williams lived off Burleigh in a yellow and brown
house and sold heroin for james Harris CS4 had personally Witnessed both james Harris
and Nequann Terry front Williams what s / he believed to be a jab (case agents know a
jab to be $1500 worth of heroin) of heroin approximately three to four times in front of
3071A North 19th Street since june 2018.

75. CS4 stated that Williams was dealing heroin out of alley off West 19th Street
and Burleigh Street. CS4 stated that l\/lel had two workers one that stood at the corner of
the`gas station off West Hopkins Street and West Burleigh Street who would radio to
another worker in the alley off 19th Street when a customer would come to buy narcotics
The worker in the alley would remove a brick in the wall in the alley across from 3071A
North 19th Street where the narcotics were stored. _When the narcotics stored in the brick
ran out one of the workers would return to 3071A North 19th Street to restock the
narcotics they were distributing in the alley.

76. On july 10, 2018, the FBI GTF conducted a controlled buy from ”Luther” an
unknown black male at the direction of Marques Williams of 2.05 grams of heroin from
the alley directly across the street from 3071A N. 19th Street, Milwaukee, CS4 stated that

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during the buy ”Luther" brought the controlled buy money into the house and gave it to
Marques-Williams.

77. Cn july 12, 2018, the FBI GTF conducted a controlled buy from ”Luther" an
unknown black male at the direction of l\/larques Williams of 2.98 grams of heroin from
the alley directly across the street from 3071A North 19th Street, Milwaukee. CS4 stated
that during the buy ”Luther” got a portion of the heroin from 3071A North 19th Street.
At the conclusion of this controlled buy, case agents remained around the residence and
conducted surveillance on 3071 N 19th Street. Case agents witnessed several suspected
narcotics transactions The majority of the suspected narcotics transactions were done
with the suspected buyer in a vehicle doing a hand-to-hand transaction with the
suspected seller on a bicycle lt should be noted that the two subjects on bicycles were
using hand signals and most cars were in the alley for less than a minute which case
agents know to be typical behavior for street level narcotics sales The most common
pattern that case agents witnessed was the driver of a vehicle would drive east on
Chambers Street, then drive northbound through the alley, and would exit out of the gas
station Case agents noted that the suspected narcotics transactions that were witnessed
were done either in the alley or on 19th Street, Case agents stated that on multiple
occasions they witnessed the black male wearing the blue baseball hat (case agents know
this to be ”Luther”) walk toward the residences on the west side of 19th Street,

78. On july 25, 2018, the FBI GTF conducted a controlled buy from ”Luther" an

unknown black male of 2.71 grams of heroin in the alley between 18th Street and 19th

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Street in the 3000 block, this is approximately 100 feet to the east of 3071A North 19th
Street, Milwaukee, Wl.

79. Agents have no physical surveillance placing Harris at the location,'
however, based off telephonic electronic surveillance case agents have placed james
Harris' cellphone in the area of 3071A North 19th Street over 25 times since May of 2018.

3044 North Richards Street, Milwaukee, Wisconsin

 

80. Agents of the FBI GTF believe that 3044 North Richards Street, Milwaukee,
Wl, is one of two residences used by Roderick Ramsey for heroin distribution

81. CS6 stated that there are two locations that CS6 would purchase heroin
from Ramsey between july 2017 to February 2018: (1) 3044 North Richards Street,
Milwaukee, Wl,' and (2) 5800 North 91st Street, Milwaukee, WI.

82. CS6 stated that in May 2018, s/ he observed james Harris at Roderick
Ramsey's residence 3044 North Richards Street, Milwaukee, Wl, when CS6 was
purchasing heroin from Ramsey. CS6 observed james Harris walk from a back room
during the drug deal with Ramsey. .

83. ln late july 2018, CS6 also stated that Ramsey was still actively selling
heroin out of 3044 North Richards Street, Milwaukee and 5800 North 91st Street,
Milwaukee.

84. Since 2016, Roderick Ramsey has been the listed utilities subscriber for WE
Energies at 3044 North Richards Street, Milwaukee, Wl.

85. On October 12, 2017, Milwaukee Police were dispatched to a battery

complaint at 3044 North Richards Street. Milwaukee Police spoke with j.G. who stated

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that her live-in boyfriend, Roderick Ramsey, struck her in the face several times With a
closed fist

86. On Thursday March 29, 2018, DEA Agents were conducting surveillance on
3044 North Richards Street when they observed a male enter and exit the residence in a
short amount of time Subsequently the male was arrested and questioned by law
enforcement The male indicated that he had been purchasing heroin from Roderick
Ramsey every two days for the last two months The male stated that he has been at 3044
North Richards Street more than 20 times The male physically pointed out the address j
of 3044 North Richards as the location where he met Ramsey earlier that morning to
obtain heroin

87. ln l\/larch 2018, case agents observed Ramsey exit 3044 North Richards
Street and lock the Chicago gate behind him using keys

88. Gn july 3, 2018, case agents observed Ramsey in the doorway of 3044 North
Richards lStreet with an unknown black female

89. On july 30, 2018, the FBI GTF conducted a controlled buy of heroin from
Roderick Ramsey in the area of 3044 North Richards Street. During the recorded
cellphone call, Ramsey asked if CS6 was closer to 91st Street or to Richards Street. CS6
informed Ramsey that CS6 was closer to 3044 North Richards Street - the heroin purchase
was arranged to take place atthat location Case agents set up surveillance on 3044 North
Richards Street, A short time later, case agents observed Ramsey driving his girlfriend's
white Lincoln MKT bearing license plate ACV-2418 drive southbound on North Richards

Street. Case agents observed Ramsey driving this vehicle approximately five times since

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june of 2018, Ramsey instructed CS6 to follow him one block south of 3044 North
Richards Street just east of Locust Street. CS6 entered the passenger side of the Lincoln
l\/ll<T and Ramsey opened a false safe containing heroin CS6 exchanged the controlled
buy money for 0.58 grams of heroin After the deal, case agents observed Ramsey walk
onto the porch of 3044 North Richards and disappear from view. Agents observed the
Lincoln's lights flash indicating that the vehicle had been locked using a key fob. At that
time agents drove by 3044 North Richards Street and observed the right side security gate
closed but the interior front door behind the security gate open The surveillance was
then terminated

90. C)n l\/larch 29, 2018, DEA Agents were conducting surveillance on 3044
North Richards Street when they observed a white male enter 3044 North Richards Street
and exit a short time later. The agents did an investigatory stop of the white male During
the stop, the white male admitted to having illegal items on his person The white male
was searched and found to be in possession of a small amount of heroin The white male
indicated that he had purchased the heroin from inside of 3044 North Richards Street,
Milwaukee. \

5800 North 91st Street, Northeast First Floor Apartment, Milwaukee, Wisconsin

 

91. Agents of the FBl GTF believe that 5800 North 91st Street, Milwaukee, Wl,
is one of two residences used by Roderick Ramsey for heroin distribution The specific
apartment number is unknown

92. CS6 stated that there are two locations that CS6 would purchase heroin

from Ramsey between july 2017 to February 2018: (1) 3044 North Richards Street,

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Milwaukee, Wl,' and (2) 5800 North 91st Street, Milwaukee, Wl. CS6 stated that 5800
North 9lst Street is an apartment building CS6 would enter the back door to the
apartment into the kitchen CS6 stated that the door to enter the apartment is the door
that is furthest north at the rear of the apartment building CS6 was unable to see What
apartment number is associated with the apartment due to entering the rear door.

93. On l\/lay 29, 2018, FBI GTF conducted a controlled buy of heroin from
Roderick Ramsey at 5800 North 91st Street, northeast 1st floor apartment, which is the
northern most entry door on the east side of the building CS6 purchased 0.55 grams of
heroin for $60.00 in controlled buy money. CS6 stated that CS6 followed Ramsey to the
western bedroom to conduct the controlled buy and observed a plate containing what
CS6 to be between 10-15 grams of heroin

94. During a controlled buy on july 30, 2018, Ramsey asked CS6 if s / he was
closer to this location at 5800 North 91st Street or the location at 3044 North Richards
Street. The controlled buy ultimately occurred in the area of 3044 North Richards Street

CONCLUSION

95. Based on the facts contained within this affidavit, case agents believe that
there is probable cause that james Harris Adline Harris, james Coleman, l<urt Parks
Nequann Terry, Roderick Ramsey, rl`odd l\/chown, Casey johnson, Don Tillman, Antoine
jeff, and l\/larques Williams are heroin traffickers Case agents further believe that there
is probable cause to search the aforementioned locations and vehicles for evidence
pertaining to the fruits instrumentalities and proceeds of drug trafficking all of which

are detailed more specifically in Attachment B, items to be seized

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TECHNICAL TERMS

96. Based on my training and experience, 'l use the following technical terms to
convey the following meanings

97. Wireless telephone -A wireless telephone (or mobile telephone or
cellphone) is a handheld wireless device used for voice and data communication through
radio signals These telephones send signals through networks of transmitter / receivers
enabling communication with other wireless telephones or traditional ”land line”
telephones A- wireless telephone usually contains a ”call log,” which records the
telephone number, date, and time of calls made to and from the phone ln addition to
enabling voice communications wireless telephones offer a broad range of capabilities
These capabilities include: storing names and phone numbers in electronic ”address
books,'” sending receiving and storing text messages and e-mail,‘ taking sending
receiving and storing still photographs and moving video; storing and playing back
audio files' storing dates appointments and other information on personal calendars
and accessing and downloading information from the lnternet. Wireless telephones may
also include global positioning system ("GPS") technology for determining the location
of the device

98. Digital camera: A digital camera is a camera that records pictures as digital
picture files rather than by using photographic film. Digital cameras use a variety of
fixed and removable storage media to store their recorded images lmages can usually
be retrieved by connecting the camera to a computer or by connecting the removable

storage medium to a separate reader. Removable storage media include various types of

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flash memory cards or miniature hard drives Most digital cameras also include a screen
for viewing the stored images This storage media can contain any digital data, including
data unrelated to photographs or videos

99. lP Address: An lnternet Protocol address (or simply ”IP address”) is a
unique numeric address used by computers on the lnternet An IP address is a series of
four numbers each in the range 0-255, separated by periods (e.g, 121.56.97.178). Every
computer attached to the lnternet computer must be assigned an IP address so that
lnternet traffic sent from and directed to that computer may be directed properly from
its source to its destination Most lnternet service providers control a range of lP
addresses Some computers have static~that is long-term-IP addresses while other
computers have dynamic - that is, frequently changed-IP addresses

100. lnternet: The lnternet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the lnternet, 7
connections between devices on the lnternet often cross state and international borders
even when the devices communicating with each other are in the same state

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

101. Based on my knowledge training and experience, l know that electronic
devices can store information for long periods Similarly, things that have been viewed
via the lnternet are typically stored for some period on the device This information can
sometimes be recovered with forensics tools

102. There is probable cause to believe that things that were once stored on the

devices may still be stored there, for at least the following reasons

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103. Based on my knowledge training and experience, l know that computer
files or remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted or viewed via the lnternet Electronic files
downloaded to a storage medium can be stored for years at little or no cost Even when
files have been deleted they can be recovered months or years later using forensic tools
This is so because when a person ”deletes” a file on a computer, the data contained in the
file does not actually disappear,' rather, that data remains on the storage medium until it
is overwritten by new data.

104. Therefore, deleted files or remnants of deleted files may reside in free
space or slack space _that is in space on the storage medium that is not currently being
used by an active file-for long periods before they are overwritten ln addition a
computer’s operating system may also keep a record of deleted data in a ”swap” or
”recovery” file

105. Wholly apart from user-generated files computer storage media-in
particular, computers’ internal hard drives- contain electronic evidence of how a
computer has been used, what it has been used for, and who has used it To give a few
examples this forensic evidence can take the form of operating system configurations
artifacts from operating system or application operation, file system data structures and
virtual memory ”swap" or paging files Computer users typically do not erase or delete
this evidence because special software is typically required for that task. However, it is

technically possible to delete this information

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106. Similarly, files that have been viewed via the lnternet are sometimes
automatically downloaded into a temporary lnternet directory or ”cache”

107 . Forensic evidence As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as
` direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how the devices were used, the purpose of its use who used it, and when
There is probable cause to believe that this forensic electronic evidence might be on the
devices because:

108.- Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted portion of a file
(such as a paragraph that has been deleted from a word processing file). Virtual memory
paging systems can leave traces of information on the storage medium that show what
tasks and processes were recently active Web browsers e-mail programs and chat
programs store configuration information on the storage medium that can reveal
information such as online nicknames and passwords. Operating systems can record
additional information such as the attachment of peripherals, the attachment of USB
flash storage devices or other external storage media, and the times the computer was in
use Computer file systems can record information about the dates files were created and
the sequence in which they were created

y 109. Forensic evidence on a device can also indicate who has used or controlled
the device This ”user attribution" evidence is analogous to the search for ”indicia of

occupancy” while executing a search warrant at a residence

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110. A person with appropriate familiarity with how an electronic device works
may, after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use who used
them, and when

111. The process of identifying the exact electronically stored information on a
storage medium that are necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review team and
passed along to investigators Whether data stored on a computer is evidence may
depend on other information stored on the computer and the application of knowledge
about how a computer behaves Therefore, contextual information necessary to
understand other evidence also falls within the scope of the warrant

112. Further, in finding evidence of how a device was used, the purpose of its
use who used it, and when sometimes it is necessary to establish that a particular thing
is not present on a storage medium.

113. Nature of examination Based on the foregoing and consistent with Rule
41(e)(2)(B), the warrant l am applying for would permit the examination of the device
consistent with the warrant The examination may require authorities to employ
techniques including but not limited to computer-assisted scans of the entire medium,
that might expose many parts of the device to human inspection in order to determine
whether it is evidence described by the warrant

114. Manner of execution Because this warrant seeks only permission to

examine a device already in law enforcement's possession the execution of this warrant

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does not involve the physical intrusion onto premises Consequently, l submit there is
reasonable cause for the Court to authorize execution of the warrant at any time in the

day or night

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ATTACHMENT A

LOCATIONS AND VEHICLES TO BE SEARCHED:

A.

1815 1st Avenue, Grafton, Wisconsin
Single condominium unit attached to a complex of units lt is the 'southernmost

unit in the block long complex. The main entrance is a white east facing screen
door with tan interior wooden door. The numbers ”1815" are prominently
displayed in two-inch black color numerals directly to the left of the white screen
door. The lower of the exterior is composed of red brick and tan wood siding The
upper portion of the exterior is composed of brown shingle siding The roof is
composed of brown shingles There is a secondary exterior door on the west side
of the unit adjacent to the parking lot y

330 West Keefe Avenue, Apartment #5, Milwaukee, Wisconsin .
l\/lulti-unit apartment complex having a tan brick exterior with grey trim around

the windows and a black tar roof. The numbers ”330” are displayed in a horizontal
fashion to the west of the south facing front entry door. Apartment #5 is located
on second floor southeast corner with the number ”5" displayed on the white
wood door.

2655 North 15th Street, Milwaukee, Wisconsin

The lower of a two-story duplex having yellow aluminum siding with white trim
around the windows and a black roof. The number ”2655” is displayed to the
north of the east facing front entry door. .

3261 North 30th Street, Milwaukee, Wisconsin

~ The lower of a two story duplex having tan aluminum siding with brown window

trim and a grey shingled roof and has a brown porch constructed of wood with
four pillars The east facing main entrance door is a black security gate with a
white interior door. This leads directly into 3261 North 30th Street lower.

3110 North 35th Street, Apartment #4’, Milwaukee, Wisconsin
Multi-unit apartment complex having brown brick exterior with dark brown trim

around the windows and-a black tar roof. Apartment #4 is located on the second
floor in the north portion of the apartment building The entrance apartment four
is located on the second floor on the east side of the apartment building The entry
door is white and is the northern most door on the east side of the apartment
building

3071A North 19th Street, Milwaukee, Wisconsin
The upper of a two-story duplex having yellow exterior siding and a red-shingled
roof. The number ”3071A” is displayed in a horizontal fashion on the east side of .

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the house The entrance door to 3071A is a white door on the south side of the
building v

3044 North Richards Street, Milwaukee, Wisconsin
The lower of a two-story duplex having white aluminum siding with white trim

and a brown-shingled roof. The number ”3044” is displayed in a horizontal
fashion to the south of the west facing security gated front door.

5800 North 915t Street, Northeast First Floor Apartment Milwaukee, Wisconsin
Multi-unit apartment complex having a tan brick exterior with brown and white

window trim and a red-shingled roof,' that ”5800" is displayed in a horizontal
fashion above the double white west facing front entry doors The entrance to the
target location is located on the first floor in the northeast corner of the apartment
building The entry door is white and is located on the east side of the apartment
building and faces east The entry door is the northern most door on the east side
of the building

Black 2013 Cadillac XTS, Wl registration 659-ZH, VIN#2G61W5S36D9220166,
registered to Harris james Trust.

White j 2014 Lincoln MKT, Wl registration , ACV-2418,
VlN#2LMHj5AT2EBL54470, registered to jasmine Grace (Roderick Ramsey’s
Girlfriend) .

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ATTACHMENT B

ITEMS TO BE SEIZED:

10.

Any illegal drugs or controlled substances paraphernalia associated with
controlled substances including scales and other weighing devices as well as
packaging materials and containers used to package controlled substances

Proceeds of drug trafficking activities including United States currency;
Firearms, ammunition magazines gun boxes firearm purchase records or
receipts and other paraphernalia associated with firearms

All bank records checks credit card bills account information and other financial
records financial records documents statements or other evidence of control of
bank or other financial accounts and investment funds

Lists of drug customers and related identifying information

Personal address books telephone bills photographs letters personal notes
documents and other items or lists reflecting names addresses telephone
numbers addresses and communications regarding illegal activities among and
between members and associates involved in drug trafficking activities

Documents and deeds reflecting the purchase or lease of items obtained with the
proceeds from drug trafficking activities

Records of off-site locations to store proceeds and other records including safes
vaults or lock boxes safe deposit box keys records and receipts and rental
agreements for storage facilities

Records of mail and communications services cellular telephones and all
electronic storage areas on the device including stored telephone numbers
recently called numbers list, text messages digital audio and or video recordings
pictures settings and any other user defined settings and / or data.

lndicia of occupancy, residency or ownership of the premises including utility
bills telephone bills loan payment receipts addressed envelopes escrow
documents and keys

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As used above the terms ”records” and ”information" include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created
or stored, including any form of computer or electronic storage (such as hard disks or
other media that can store data),‘ any handmade form (such as writing drawing
painting); any mechanical form (such as printing or typing),' and any photographic form
(such as microfilm, microfiche, prints slides negatives videotapes motion pictures or
photocopies).

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